   Case 2:06-cr-00176-CG-M             Doc# 950        Filed 11/21/14         Page 1 of 2      PageID# 4389

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                            (8607)

                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA
        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                  V.                                      (For Revocation of Probation or Supervised Release)

        KEVIN JAVON MOORE                                 CASE NUMBER: 2:06-CR-00176-008
        aka K-Mo, aka Boo-Baby                            USM NUMBER: 09551-003

THE DEFENDANT:                                            Peter J. Madden, Esquire
                                                          Defendant's Attorney

X      admitted guilt to violation of supervision condition: mandatory condition as set forth in the
petition dated 11/25/2009.
       was found in violation of supervision condition:
                                                                      Date violation
Violation Number                    Nature of Violation                Occurred
Mandatory                           New Offense                       10/20/2009


       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

       The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.



Defendant's Social Security No. 9848                       November 12, 2014
                                                           Date of Imposition of Judgment
Defendant's Date of Birth: 1981
                                                           /s/ Callie V. S. Granade
Defendant's Residence Address:                             UNITED STATES DISTRICT JUDGE
Selma, AL
__________________________
                                                           November 21, 2014
Defendant's Mailing Address:
                                                           Date
___________________________
___________________________
    Case 2:06-cr-00176-CG-M             Doc# 950        Filed 11/21/14       Page 2 of 2      PageID# 4390
                                                                                                 Judgment 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment

Defendant: KEVIN JAVON MORE, a/k/a K-Mo, a/k/a Boo-Baby
Case Number: 2:06-CR-00176-008

                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWENTY-FOUR (24) MONTHS.



        The court makes the following recommendations to the Bureau of Prisons:




X       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at .m. on        .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau
        of Prisons:
                before 2 p.m. on      .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:

__________________________________________________________________________________

__________________________________________________________________________________

__________________________________________________________________________________

Defendant delivered on                          to                                     at __________________

with a certified copy of this judgment.
                                                                          UNITED STATES MARSHAL


                                                                      By _________________________________
                                                                             Deputy U.S. Marshal
